Case 2:25-cv-00080-BWA-MBN Document1 Filed 01/09/25

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

WINSTON BOYD
VERSUS

ANN KIRKPATRICK, in her Official
Capacity as SUPERINTENDENT of the
NEW ORLEANS POLICE
DEPARTMENT; NOPD OFFICER
PITTMAN; NOPD OFFICER WINK;
JAMES PORTER; CHRISTOPHER
DURING, JOSHUA  MCBURNIE,
OMAR RODRIGUEZ, CHRISTOPHER
LAINE, RASAAD RAMIE, THOMAS
RIPP, JACK WILSON, JAMES BRADY,
ADEJA CARTER; THE CITY OF NEW
ORLEANS through MAYOR LATOYA
CANTRELL

CIVIL ACTION

SEC.:

JUDGE

MAGISTRATE JUDGE

JURY DEMAND

PETITION FOR DAMAGES

NOW INTO COURT, through undersigned counsel, comes WINSTON BOYD

(“PETITIONER”) who respectfully represents as follows:

PRELIMINARY STATEMENT

This is a civil rights action brought pursuant to 42 U.S.C. §§ 1983, 1988 and the Fourth
and Fourteenth Amendments to the U.S. Constitution. This matter also raises supplemental state
law claims, relative to the actions! of all named defendants herein; more specifically, NOPD
OFFICERS PITTMAN, JAMES PORTER, CHRISTOPHER DURING, JOSHUA
MCBURNIE, OMAR RODRIGUEZ, CHRISTOPHER LAINE, RASAAD RAMIE,

THOMAS RIPP, JACK WILSON, JAMES BRADY, ADEJA CARTER (Collectively

! When the terms “actions” or “acts” are used herein, it is intended to also include the failure to act, i.e., commissions.

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referred to herein as “the NOPD OFFICERS”); ANN KIRKPATRICK, in her Official
Capacity as SUPERINTENDENT of the NEW ORLEANS POLICE DEPARTMENT
(“NOPD”); and THE CITY OF NEW ORLEANS through its duly elected MAYOR,
LATOYA CANTRELL (All Defendants collectively referred to herein as “the
DEFENDANTS”).

JURISDICTION & VENUE

This cause is grounded in 28 U.S.C. § 1331 ef seg. and §§ 1343(a)(3), 1343(a)(4), and
1367(a) as this suit raises questions of federal civil rights law and is also brought pursuant to 42
U.S.C. § 1983 ef seq. and other related provisions. This action is authorized by 42 U.S.C. §1981, e¢
seg., especially §1983, to redress the deprivation under color of law, statute, ordinance, regulation,
custom, and/or usage of rights guaranteed to PETITIONER by the Fourth and Fourteenth
Amendments to the United States Constitution.

PETITIONER brings this action in this Court pursuant to 28 U.S.C. § 1391(b), as the
transactional events constituting the alleged tortious behavior arose and occurred within Orleans
Parish, Louisiana, which is situated in the Eastern District of Louisiana. This action is in conformity
with Fed. Rules Civ. P. Art. 4(d). PETITIONER also seeks all relief afforded under state law,
including, but not limited to, La. Civil Code Article 2315.

Collectively, the DEFENDANTS have acted as tortfeasors and are therefore liable both
jointly and insolido, as their acts committed under color of the statutes, customs, ordinances, and
usage of the State of Louisiana, Parish of Orleans, and the City of New Orleans, by depriving
PETITIONER of his rights secured by the Constitution and laws of the United States.

PARTY PLAINTIFF

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1. WINSTON BOYD (“PETITIONER”) is of suitable age and capacity to file this lawsuit.
At all times relevant herein, PETITIONER, was a resident of the City of New Orleans
situated in Orleans Parish which is the Eastern District of Louisiana.

PARTY DEFENDANTS

2. NOPD OFFICER PITTMAN (“the K-9 Handler”) is being sued in their individual
capacity, as a Law Enforcement Officer employed by the NOPD and who, upon
information and belief, is responsible for the handling of the K-9 involved in this case.
Upon further information and belief, and at all times relevant herein, they were an on-duty
officer who participated in the incident that gives rise to this lawsuit and was acting under
color of state law in performance of their duties and under color of the statutes, ordinances,
regulations, policies, customs, and uses of the NOPD.

3. NOPD OFFICER WINK (“Wink”) is being sued in their individual capacity, as a Law
Enforcement Officer employed by the NOPD. Upon information and belief, and at all times
relevant herein, Wink was an on-duty officer who participated in the incident that gives
rise to this lawsuit by placing handcuffs on PETITIONER while the K-9 involved in this
case was biting PETITIONER. Wink was acting under color of state law in performance
of their duties and under color of the statutes, ordinances, regulations, policies, customs,
and uses of the NOPD.

4. JAMES PORTER (“the K-9 Supervisor”) is being sued in his individual capacity as a
Law Enforcement Officer employed by the NOPD. Upon information and belief, and at all
times relevant herein, he was the K-9 Supervisor who failed to supervise the improper,

unleashed deployment of the K-9 involved in this case and failed to ensure compliance .

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with proper procedures, including completing a K-9 incident bite report regarding the

grossly negligent K-9 bite inflicted on PETITIONER.

. CHRISTOPHER DURING (“DURING”) is being sued in their individual capacity, as a

Law Enforcement Officer employed by the NOPD. Upon information and belief, and at all
times relevant herein, they were an on-duty officer who participated in the incident that
gives rise to this lawsuit and was acting under color of state law in performance of their
duties and under color of the statutes, ordinances, regulations, policies, customs, and uses

of the NOPD.

. JOSHUA MCBURNIE (“MCBURNIE”) is being sued in their individual capacity, as a

Law Enforcement Officer employed by the NOPD. Upon information and belief, and at all
times relevant herein, they were an on-duty officer who participated in the incident that
gives rise to this lawsuit and was acting under color of state law in performance of their
duties and under color of the statutes, ordinances, regulations, policies, customs, and uses

of the NOPD.

. OMAR RODRIGUEZ (“RODRIGUEZ”) is being sued in their individual capacity, as a

Law Enforcement Officer employed by the NOPD. Upon information and belief, and at all
times relevant herein, they were an on-duty officer who participated in the incident that
gives rise to this lawsuit and was acting under color of state law in performance of their
duties and under color of the statutes, ordinances, regulations, policies, customs, and uses

of the NOPD.

. CHRISTOPHER LAINE (“LAINE”) is being sued in their individual capacity, as a Law

Enforcement Officer employed by the NOPD. Upon information and belief, and at all times

relevant herein, they were an on-duty officer who participated in the incident that gives rise

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to this lawsuit and was acting under color of state law in performance of their duties and
under color of the statutes, ordinances, regulations, policies, customs, and uses of the
NOPD.

RASHAAD RAMIE (“RAMIE”) is being sued in their individual capacity, as a Law
Enforcement Officer employed by the NOPD. Upon information and belief, and at all times
relevant herein, they were an on-duty officer who participated in the incident that gives rise
to this lawsuit and was acting under color of state law in performance of their duties and
under color of the statutes, ordinances, regulations, policies, customs, and uses of the
NOPD.

THOMAS RIPP (“RIPP”) is being sued in their individual capacity, as a Law
Enforcement Officer employed by the NOPD. Upon information and belief, and at all times
relevant herein, they were an on-duty officer who participated in the incident that gives rise
to this lawsuit and was acting under color of state law in performance of their duties and
under color of the statutes, ordinances, regulations, policies, customs, and uses of the
NOPD.

JACK WILSON (“WILSON”) is being sued in their individual capacity, as a Law
Enforcement Officer employed by the NOPD. Upon information and belief, and at all times
relevant herein, they were an on-duty officer who participated in the incident that gives rise
to this lawsuit and was acting under color of state law in performance of their duties and
under color of the statutes, ordinances, regulations, policies, customs, and uses of the
NOPD.

JAMES BRADY (“BRADY”) is being sued in their individual capacity, as a Law

Enforcement Officer employed by the NOPD. Upon information and belief, and at all times

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relevant herein, they were an on-duty officer who participated in the incident that gives rise
to this lawsuit and was acting under color of state law in performance of their duties and
under color of the statutes, ordinances, regulations, policies, customs, and uses of the
NOPD.

ADEJA CARTER (“CARTER”) is being sued in their individual capacity, as a Law
Enforcement Officer employed by the NOPD. Upon information and belief, and at all times
relevant herein, they were an on-duty officer who participated in the incident that gives rise
to this lawsuit and was acting under color of state law in performance of their duties and
under color of the statutes, ordinances, regulations, policies, customs, and uses of the
NOPD.

ANN KIRKPATRICK (“KIRKPATRICK”), is being sued in her official capacity as the
Superintendent of the NOPD. As the chief law enforcement officer for the City of New
Orleans, NOPD Superintendent KIRKPATRICK is responsible for the staffing,
supervision, administration, policies, practices, procedures, and customs of the NOPD. She
is responsible for the hiring, supervision, discipline, and control of the NOPD staff,
supervisors, and officers. She is the employer of the NOPD officer(s) involved as
defendant(s) in this lawsuit and is liable both directly and vicariously for the actions of said
NOPD officer(s) complained of herein. NOPD Superintendent KIRKPATRICK is also
responsible for the policies, procedures, training, assignments, supervision and discipline
of the NOPD deputies who are authorized and assigned to work both “on-duty” or “off-
duty” and is accountable for their actions. At all times relevant herein, she was the final
policymaker and/or decision maker regarding law enforcement training, supervision, rules,

regulations, and procedures of the NOPD. In her official capacity, NOPD Superintendent

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KIRKPATRICK represents a public entity organized in the State of Louisiana the
provides services to the citizens of the City of New Orleans.

THE CITY OF NEW ORLEANS through its duly elected Mayor, LATOYA
CANTRELL, is a municipal entity and political subdivision situated in Orleans Parish,
organized under the laws of Louisiana and the United States of America.

STATEMENT OF FACTS

On the night of January 22, 2024, at or around 10:30 p.m., PETITIONER was in his
garage at his home located at 3030 Hamilton St., New Orleans, Louisiana. His wife, Erica
Vanshander Buckner Boyd, was inside their home working.”

PETITIONER sat in one of his chairs in the garage, with a machete placed on another for
protection, as their neighborhood was known to be dangerous. While in the garage,
PETITIONER heard a distant announcement warning that a police K-9 would be released
if a surrender did not occur. The announcement was repeated twice, but it was far enough
away that PETITIONER did not perceive any immediate concern, and he eventually fell
asleep in the chair. ?

PETITIONER was abruptly awakened when a police K-9 bit his leg. No audible warning
was given immediately before the dog attacked him. The dog was not on a leash at the time
and continued to bite despite the handler commanding it to release. The K-9 handler

repeatedly shouted "Louse" at increasing intensity, struggling to get the dog to stop. While

2 Exhibit P-1: Unsworn Statement of Petitioner, Winston Boyd; Exhibit P-2: Photograph of the Boyd Home; Exhibit
P-4: Photograph of Garage.
3 Exhibit P-1: Unsworn Statement of Petitioner, Winston Boyd; Exhibit P-3: Photograph of Winston Boyd Sitting in

Garage.

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the handler had his hand on the dog's collar, the dog persisted, painfully biting
PETITIONER's leg multiple times. *

19. Earlier that evening, at or around 8:00 p.m., a police officer wearing a patrol uniform and
body camera had approached PETITIONER in his yard and asked if he resided at the
location. PETITIONER clarified that he was on his own property. Winston Boyd was told
he was okay to move about his property by the NOPD officer. At no time did NOPD
officers warn PETITIONER that a K-9 would be released to seek out a suspect they were
searching for regarding an earlier reported carjacking.°

20. Counsel for PETITIONER later obtained an incident report from the NOPD detailing the
circumstances surrounding this encounter.® According to the report attached herein as
Exhibit P-5, the NOPD was investigating a reported suspect described as, "B/M...tall slim
build...all blk clothing." A second description provided, "B/M...Red hoodie...with white
stripes." At 7:09 p.m., a call was made requesting K-9 apprehension, and K-9 handler,
NOPD OFFICER PITTMAN, was notified of this request at or around 7:26 p.m. A K-9
search began at 8:55 p.m. Prior to this, a third description was called in of another black
male, wearing a “white T-shirt...grey long sleeve...jeans.” Upon information and belief,
this description was relative to PETITIONER.

21. During the dog attack, an NOPD officer wearing black tactical gear handcuffed
PETITIONER while the K-9 continued to bite his leg. Upon information and belief, this
NOPD officer was named Officer Wink. The bite lasted what felt like three to five minutes,

during which NOPD officers interrogated PETITIONER. The dog continued to bite

4 Exhibit P-1: Unsworn Statement of Petitioner, Winston Boyd.
5 Exhibit P-1: Unsworn Statement of Petitioner, Winston Boyd.
6 Exhibit P-5: PremierOne Incident Details.

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multiple times, including toward PETITIONER’s groin, leaving him with three sets of
puncture wounds.’

22. At approximately 9:58 p.m., the NOPD incident report notes an incident at
PETITIONER's address, 3030 Hamilton St., which required EMS assistance. Meanwhile,
at 10:23 p.m., a suspect was apprehended at 3018 Hamilton St., which is not
PETITIONER’s address.°

23. PETITIONER’s wife heard the commotion and shouts to get the dog off her husband.
Although she could not see the incident until rushing outside, she estimates the dog was on
PETITIONER’ leg for three to five minutes. During that time, she repeatedly urged the
officers to stop the attack, but to no avail.

24. Eventually, the K-9 handler stated, "We have the dog off, and all his parts are intact," as
PETITIONER lay bleeding on the floor, having been pulled off the chair by the K-9
during the attack.?

25. After the dog was removed, PETITIONER was placed in an ambulance by New Orleans
EMS and taken to University Medical Center (UMC), to receive medical treatment. His
injuries, which included puncture wounds and nerve damage to his knee, were treated with
cleaning, stitching, and bandaging. PETITIONER was prescribed Amoxicillin and
Ibuprofen before being discharged. He was also advised that his bite wounds and knee

injury, causing pain when walking, would require follow-up appointments.!°

7 Exhibit P-1: Unsworn Statement of Petitioner, Winston Boyd.

8 Exhibit P-5: PremierOne Incident Details.

9 Exhibit P-1: Unsworn Statement of Petitioner, Winston Boyd.

10 Exhibit P-8: Certified Copy of University Medical Center Medical Records for Winston Boyd.

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26. EMS confirmed the “puncture wound above knee from dog bite,” classifying the event as
a trauma case.!!

27. Following the incident, PETITIONER was interviewed by an NOPD Public Integrity
Bureau (PIB) Officer, who recorded the interview and had crime scene investigators take
photos of PETITIONER’s injuries. PETITIONER’s wife was not interviewed, and no
communication or correspondence has been received since this interview of
PETITIONER.”

28. PETITIONER, a middle school reading teacher at KIPP Leadership in New Orleans, took
four days off work to recover. Since returning to work, he continues to suffer from nerve
damage in his leg and severe mental distress. He is currently receiving mental health
treatment from Dr. Oyemate, a psychiatrist, for trauma related to the incident.
PETITIONER’s wife, Erica, and their child are also undergoing therapy for trauma
stemming from the event.

CAUSES OF ACTION

Count One: Constitutional and Civil Rights Claims under 42 U.S.C. 1983 and the U.S.
Constitution against the NOPD and Officers

29. PETITIONER incorporate and reasserts the allegations in the paragraphs above as though
fully set forth herein.

30. The actions of the NOPD OFFICERS in using excessive and unreasonable force in the
seizure and restraint of PETITIONER, and in failing to intervene or act to prevent such
actions, despite having the opportunity and duty to do so, as set forth herein, violated the

rights of the PETITIONER, as guaranteed under the Fourth and Fourteenth Amendments

'l Exhibit P-5: PremierOne Incident Details.
'2 Exhibit P-1: Unsworn Statement of Petitioner, Winston Boyd.

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to the U.S. Constitution, to liberty, due process, equal protection, to be free from
unreasonable seizure and to be free from the unjustifiable and excessive use of force, all in
violation of 42 U.S.C. § 1983.

The NOPD OFFICERS had knowledge of the wrongs done and conspired to be done as
described herein, had the power to prevent or aid in the prevention of same, yet failed or
refused to do so, in violation of 42 USC § 1983.

During the events described herein, the NOPD OFFICERS were aware of the use of
excessive force and restraint but did not intervene to prevent the violation of

PETITIONER’S constitutional rights, even though they had the opportunity and duty to

.do so.

At all times relevant herein, the NOPD OFFICERS committed the acts described herein
under the color of state law and by virtue of their authority as law enforcement officers of
the NOPD and in the course and scope of their employment and substantially deprived
PETITIONER of his clearly established rights, privileges and immunities guaranteed to
him as a citizen of the United States pursuant to the Fourth and Fourteenth Amendments
in violation of 42 U.S.C. 1983, including, but not limited to:

a. The right to freedom from unreasonable seizure;

b. The right to freedom from the use of unreasonable, unjustified, and excessive force

and summary punishment;
c. The right to freedom from deprivation of liberty without due process of law;
d. The right to freedom from arbitrary governmental activity which “shocks the

conscience” of a civilized society in violation of his substantive due process rights;

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34.

35.

The actions of the NOPD OFFICERS described herein were the direct and proximate
cause of the injuries inflicted upon PETITIONER.
The actions of the DEFENDANTS described herein were done with deliberate

indifference and were intentional, malicious, reckless, cruel and performed with malice.

Count Two: Constitutional and Civil Rights Claims Against Superintendent of the NOPD,

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Ann Kirkpatrick, in her Official Capacity

PETITIONER incorporates and reasserts the allegations in the paragraphs above as
though fully set forth herein.

The actions of the NOPD OFFICERS described herein violated PETITIONER’s federal
and state constitutional and statutory rights as specified herein and resulted in
PETITIONER sustaining physical and mental damages.

At all times relevant herein, each of the NOPD OFFICERS named and involved in the
constitutional and statutory violations, which resulted in the PETITIONER sustaining
severe physical and mental damages, were employees of NOPD Superintendent
KIRKWOOD, were acting under color of law by virtue of their authority as NOPD
Officers and were in the course and scope of their employment.

As a direct and proximate result of the actions of the NOPD Officers and the deliberately
indifferent policies, practices and customs of NOPD Superintendent KIRK WOOD, the
constitutional and statutory rights of PETITIONER, both federal and state, were violated,
and he sustained injuries and damages suffered for which the defendants are liable, as more

fully set forth herein.

40. NOPD Superintendent KIRKWOOD, in her official capacity and as final policy maker,

was under a constitutional duty: 1) to properly determine if her officers, including the

NOPD OFFICERS were qualified to serve as police officers; 2) to provide her officers,

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including the NOPD OFFICERS, with proper policy guidance to perform law
enforcement functions including stops, seizures, apprehension of suspects, reasonable use
of force, including the use and deployment of a police K-9, and the protection of
individual’s civil rights, among other things; and 4) to properly investigate, discipline and
hold accountable her deputies, including the NOPD OFFICERS, for violation of the
policies, practices and customs of the NOPD.

PETITIONER avers that NOPD Superintendent KIRKWOOD failed to properly screen,
hire, train, investigate and discipline officers, including the NOPD OFFICERS.

NOPD Superintendent KIRKWOOD permitted, encouraged, tolerated, and knowingly
acquiesced in an official pattern, practice or custom of NOPD officers, including the
NOPD OFFICERS of violating the constitutional rights of the public at large, including
PETITIONER.

The actions of the NOPD officers as described herein, were unjustified, unreasonable,
unconstitutional, excessive and grossly disproportionate to the actions of PETITIONER,
and constituted an unreasonable seizure effectuated through the use of excessive force and
a deprivation of the PETITIONER’s constitutional rights secured to him by the Fourth
and Fourteenth Amendment of the United States Constitution.

The actions of the NOPD officers as described herein, were in direct violation of the
constitution, law and regulations of the United States and the State of Louisiana and the
internal policies and procedures of the SPD.

NOPD Superintendent KIRKWOOD condoned, approved, ratified, facilitated and

knowingly acquiesced in the actions of the NOPD OFFICERS described herein by failing

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to properly investigate, discipline and hold accountable the NOPD Officers for their

actions.

46. NOPD Superintendent KIRKWOOD is liable for the unconstitutional actions of the

NOPD OFFICERS as described herein, due to the following policies, procedures, rules,

practices, customs and/or usages of NOPD which, upon information and belief, were in

effect and being utilized at the time of this incident and which were the moving force of

the constitutional violations which caused the injuries sustained by PETITIONER:

a.

Failure to properly hire and screen applicants to determine their fitness, both
mentally, physically and ethically, to perform the duties of a law enforcement
officer;

Failure to have adequate and proper written policy guidance regarding obvious and
recurring law enforcement activities with respect to: 1) stops; 2) seizures; 3) use of
force; 4) use of K-9 units; and 5) protection of individual’s civil rights;

Failure to adequately train officers, including the NOPD OFFICERS, regarding
obvious and recurring law enforcement activities with respect to: 1) stops; 2)
seizures; 3) use of force; 4) use of K-9 units; 5) protection of individual’s civil
rights; and, 6) among other things, illustrating deliberate indifference and reckless
disregard for the rights of the public, including PETITIONER;

Failure to train and educate officers, including the NOPD OFFICERS, with
respect to appropriate levels of force application which NOPD Superintendent
KIRKWOOD knew, must have known or should have known, that officers were
utilizing in the field and which posed a serious risk of injury including the improper
use of a K-9 unit, in deliberate indifference to and reckless disregard of the welfare
of the public at large, including PETITIONER;

Failure to adequately supervise, monitor and evaluate the performance of her
officers, including the NOPD OFFICERS, regarding their compliance with the
laws and policies, practices and customs with respect to: 1) stops; 2) seizures; 3)
use of force; 4) use of K-9 units; 5) protection of individual’s civil rights; and, 6)
among other things, illustrating deliberate indifference and reckless disregard for
the rights of the public, including PETITIONER;

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f. Failure to adequately respond to and investigate critical incidents and/or complaints
by civilians regarding misconduct by NOPD Officers, including the NOPD
OFFICERS, with respect to: 1) stops; 2) seizures; 3) use of force; 4) use of K-9
units; 5) protection of individual’s civil rights; and, 6) among other things,
illustrating deliberate indifference and reckless disregard for the rights of the
public, including PETITIONER;

g. Failure to adhere to NOPD Standard Operating Procedures concerning K-9 safety
and use. Specifically, NOPD SOP 1.3 and SOP 41.22 outline strict guidelines on
the deployment of K-9 units, including requirements for prior warnings, appropriate
use of force, and proper documentation of incidents. The NOPD did not issue a
warning to Winston Boyd before releasing a K-9, as required by the policies.
Additionally, the involved K-9 handler did not activate their body-worn camera or
properly document the incident, which violates the department’s established
protocols for use of force and canine deployment. These failures indicate a breach
of internal regulations meant to safeguard both officers and civilians.'°

h. Failure to meet training requirements for their K-9 units as specified in their
policies. Each K-9 team is mandated to participate in a minimum of one 8-hour in-
service training day per week, along with an additional four hours of maintenance
training documented in a canine logbook. The NOPD failed to ensure that the K-9
involved in Winston Boyd’s incident received this requisite training. Furthermore,
there was no maintenance of daily training logs, which is critical for tracking the
proficiency and readiness of K-9 teams. The lack of adequate training and
documentation raises concerns about the competency of the K-9 unit and its
preparedness to handle real-life situations, thereby contributing to the injuries
sustained by Boyd.

i. Failure to conduct an internal investigation into the dog bite incident involving
Winston Boyd, violating its duty to prevent similar future occurrences. This failure
also reflects non-compliance with a Federal Consent Order mandating thorough
reporting, investigation, and maintenance of bite statistics for K-9 incidents.
Additionally, NOPD did not ensure that the K-9 and its handler, including K-9
Supervisor Sgt. James Porter, were properly screened, certified, and recurrently
trained. These systemic lapses in oversight and accountability led to the improper
deployment of the K-9, which ultimately caused harm to Boyd. The absence of an
investigation further suggests a disregard for implementing necessary corrective
actions to mitigate risks associated with K-9 operations.

13 Exhibit P-6: NOPD Operations Manual Chapter 1.3, Use of Force; Exhibit P-7 NOPD Operations Manual Chapter
41.22, Canine.

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47. NOPD OFFICERS violated the following portions of NOPD Operations Manual Chapter

41:22, Title: Canine (Exhibit P-7) policy as follow:

POLICY STATEMENT

1. A police canine is primarily a locating tool, using its extraordinary olfactory
skills to find a concealed subject. The use of the canine as a force tool, that is to
bite a suspect at the time the suspect is located, may or may not be necessary or
justified.

2. When a canine is used in an attempt to apprehend a suspect, it is an
instrumentality of force and shall only be used consistent with Chapter 1.3 — Use
of Force, applicable laws, and current professional standards as set out in this
Chapter. Chapter 1.3 — Use of Force requires that officers shall use the minimum
amount of force that the objectively reasonable officer would use in light of the
circumstances to effectively bring an incident or person under control, while
protecting the lives of the member or others. As applied to canines, the reasonable-
necessity standard means a dog bite is justifiable, lawful force if and only if the
threat to officers or the public is serious—the need for force must be sufficient to
justify the injury of a dog bite.

3. Canine teams will be trained and will demonstrate proficiency such that the
handler has total control over the canine’s actions.

DEPLOYING A CANINE

7. Off-leash canine deployments, searches, and other instances when there is an
increased risk of a canine bite to a suspect shall be restricted to instances in which
the suspect is wanted for a crime of violence and the suspect poses an imminent
danger of death or serious bodily injury to the officer or to another person.

8. Off-leash tactical canine deployments, searches, and other instances in which
there is an increased risk of a canine bite shall be used only in instances in which
the suspect is wanted for a crime of violence as defined in this Chapter or is
reasonably suspected to be armed based upon individualized information specific
to the subject. Officers are not authorized to deploy a canine off leash in order to
subdue a suspect who presents no imminent threat of death or serious injury. Off-
leash tactical deployment of a canine is never authorized for the protection of

property.

ALLOWING A CANINE TO BITE
13. Canine handlers will only allow their canines to bite a suspect if:
(a) the suspect’s actions pose a risk of imminent danger to the handler

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(c) the suspect is exhibiting aggressive resistance as defined in Chapter 1.3
— Use of Force. (Aggressive resistance does not include concealment and
refusal to surrender without more); AND

(d) the handler is in visual and auditory range of a suspect, except when the
suspect is hiding in a confined space (e.g., a crawl space) and refuses to
surrender or is escaping.

14. Handlers will not allow their canine to engage a suspect by biting if a lower
level of

TACTICAL USE — REQUESTS FOR USE OF CANINE
15. Personnel within the Department are encouraged to freely request the use of the
canines. When a canine team is requested, the on-scene officers shall:
(a) Secure the perimeter of the area to be searched and clear the area of
civilians;

TACTICAL USE - CANINE WARNING ANNOUNCEMENT

24. Prior to all canine deployments, the handler shall:
(a) Ensure his/her body-worn camera is activated before the warning is
given and before deployment of the canine;...
(c) Unless warnings impose an imminent threat of danger to the canine
handler or other officers on scene, issue three (3) loud and clear warnings
that a canine will be deployed and advise the suspect to surrender. For
example: “Warning, a police canine will be used to search this (area to be
searched), if you don’t come out, I will release my dog. If approached by
the dog, surrender and remain still”...
(f) Provide a reasonable amount of time for innocent civilians, other
members, and the suspect to come out before commencing with the search.
(g) Whether or not there is an apprehension, document in the deployment
report and any related incident report whether a verbal canine warning was
given and, if none was given, the reasons why.

25. Whenever possible, two canine handlers should respond to any request for a
canine. When two handlers respond to a request for a service, the primary handler
shall search with his/her canine and the secondary handler shall act as backup
without his/her canine. If a question arises as to which handler shall be primary, the
approving supervisor shall designate the primary handler....

29. Canine handlers shall allow their canines to engage a suspect by biting only if:
(a) The suspect’s actions pose a risk of imminent danger to the handler or
others; the suspect’s actions pose a risk of serious harm to the canine; or the
suspect is exhibiting aggressive resistance as defined in NOPD Chapter 1.3
— Use of Force. (Aggressive resistance does not include concealment and
refusal to surrender without more); and

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(b) The handler is in visual and auditory range of a suspect, except when
the suspect is hiding in a confined space (e.g., a crawl space) and refuses
to surrender or is escaping.

(c) Handlers will not allow their canine to engage a suspect by biting if a
lower level of force could reasonably be expected to control the suspect or
allow for the apprehension.

30. When a canine apprehends a suspect by biting, the handler shall call the canine
off at the first moment the canine can be safely released, considering that the
average person will struggle if seized or confronted by a canine. The handler shall
order the dog to release the bite immediately after it is determined that the suspect
is unarmed, regardless of whether the suspect is struggling with the dog.

TACTICAL USE - REPORTING AND INVESTIGATING CANINE
DEPLOYMENTS

37. A canine deployment resulting in a bite is considered a serious use of force and
a Level 4 reportable use of force. All serious use of force shall be investigated by
PIB FIT....

39. For each canine apprehension, the involved handler and all witness officers,
which includes the officer requesting the use of the canine, shall complete a Force
Statement before the end of shift. In addition to the information that must be
included in all Force Statements, a canine handler's narrative documenting a canine
apprehension shall include the following:

(a) The name of the approving supervisor;

(b) The item number assigned to the body-worn camera video and any other

associated item numbers;

(c) Whether the deployment was on- or off-leash;

(d) Whether there was contact between the canine and the subject, including

contact with the subject's clothing;

(e) Whether the canine was on or off leash at the time of apprehension;

(f) A description of where the subject was located;

(g) Documentation of the duration of the canine's contact with a subject;

(h) The approximate distance of the canine from the handler at time of

apprehension;

(i) The description of any injuries received by the suspect;

(j) The description of the circumstances leading up to the decision to deploy

the canine; and

(k) A description of the canine release and securing of the canine.

CANINES IN PUBLIC AREAS

87. When not specifically deployed pursuant to this Chapter, all canines shall be
kept on

leashes when in areas that allow access to the public. Exceptions to this rule would
include specific law enforcement operations for which the canines are trained or
approved demonstrations.

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88. Canines shall not be left unattended in any area to which the public may have
access.

48. NOPD OFFICERS violated the following portions NOPD OPERATIONS MANUAL

CHAPTER 1.3, TITLE: USE OF FORCE (Exhibit P-6) policy as follows:

Serious Use of Force—Includes the following: (a) All uses of lethal force by an
NOPD officer; (b) All critical firearm discharges by an NOPD officer; (c) All uses
of force by an NOPD officer resulting in serious physical injury or requiring
hospitalization; (d) All neck holds; (e) All uses of force by an NOPD officer
resulting in a loss of consciousness; (f) All canine bites (g) More than two
applications of an CEW on an individual during a single interaction, regardless of
the mode or duration of the application, and whether the applications are by the
same or different officers, or CEW application for 15 seconds or longer, whether
continuous or consecutive; and (h) Any strike, blow, kick, CEW application or
similar use of force against a handcuffed subject.

USE OF FORCE LEVELS - For reporting and investigative purposes, the New
Orleans Police Department categorizes use of force by its members into four (4)
primary force levels:

LEVEL 4 Level-4 uses of force include all ‘serious uses of force’ as listed below:
(a) All uses of lethal force by an NOPD officer;

(b) All critical firearm discharges by an NOPD officer;

(f) All canine bites;

USE OF FORCE PRINCIPLES

6. NOPD officers, regardless of the type of force or weapon used, shall abide by
the following requirements:

(a) Officers shall use verbal advisements, warnings, and persuasion, when possible,
before resorting to force.

(e) When possible,

DEADLY FORCE
13. Deadly/Lethal force shall be used only when:
(a) There is an imminent danger of death or serious physical injury to
the officer or another person;
LEVELS OF CONTROL
21. If verbal commands/directives are ineffective or not feasible, officers may
utilize other control methods. If force is necessary, officers shall determine which
control technique(s), tactics or authorized defensive equipment would best de-
escalate the incident and bring it under control in the safest manner. When it is
objectively reasonable, officers may utilize the following skills and techniques as
follows:

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(h) Deadly or Lethal Force—Deadly/Lethal force shall be used only when:
i. There is an imminent danger of death or serious physical injury to
the officer or another person; or
ii. To prevent the escape of a fleeing subject if there is probable
cause to believe:
- The subject has committed a felony involving the infliction or
threatened infliction of serious bodily injury or death; and
- The escape of the subject would pose an imminent danger of death
or serious bodily injury to the officer or to another person.
NOPD Superintendent KIRKWOOD knew or should have known that the above-
referenced policies, practices, and/or customs, resulted in an under qualified, undertrained
and unprofessional law enforcement agency that was ill-equipped to perform obvious and
necessary law enforcement activities without exposing the public to unwarranted danger
of injury and bodily disfigurement.
NOPD Superintendent KIRKWOOD was on actual or constructive notice of the
deficiencies with the policies, practices, and/or customs of the NOPD which make officer
misconduct a foreseeable consequence.
NOPD Superintendent KIRKWOOD must have known or should have known that the
above-referenced policies, practices, and/or customs, would likely lead to serious injury or
permanent bodily disfigurement of citizens and that such injuries were foreseeable; yet
disregarded that risk.
The aforementioned policies, practices and customs were inadequate in relation to the
specific tasks their deputies must routinely perform and with respect to activities where
there is an obvious need for proper policies, practices and customs and therefore, illustrated

its deliberate indifference and/or reckless disregard to the consequences of officer

misconduct.

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NOPD Superintendent KIRKWOOD’s above referenced policies, practices and/or
customs violated PETITIONER’s constitutional rights; and said policies, practices and/or
customs were the moving force behind and proximate cause of said violations.

NOPD Superintendent KIRKWOOD’s above referenced policies, practices and/or
customs demonstrated a deliberate indifference to the constitutional rights of the public,
including PETITIONER, and was the proximate cause of the injuries and damages
sustained by PETITIONER, and evidenced a reckless or callous indifference to the
federally protected rights of PETITIONER.

NOPD Superintendent KIRKWOOD is also directly responsible for the actions of NOPD
officers described herein, including the NOPD OFFICERS, by virtue of the fact that she
failed to require or perform an adequate investigation of this critical incident involving the
bodily injury and psychological trauma inflicted upon PETITIONER. Therefore, NOPD
Superintendent KIRKWOOD effectively ratified, condoned, and otherwise approved the
NOPD OFFICERS conduct in this matter and in all respects.

By failing to recognize or correct the deficiencies with her policies, practices and customs,
NOPD Superintendent KIRKWOOD consciously disregarded the known and foreseeable
consequences thereof.

NOPD Superintendent KIRKWOOD’s deliberately indifferent policies, practices and
customs were the moving force behind PETITIONER’s injuries and the deprivation of his
constitutional rights.

There is a direct causal link between the policies, practices and customs and the violation

of the PETITIONER’s constitutional rights.

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As a direct and proximate result of the foregoing policies, practices and customs of NOPD
Superintendent KIRKWOOD, the violation of the constitutional rights of the public by
the NOPD Officers was substantially certain to occur.

The actions of the NOPD Officers described herein, which were proximately caused by the
policies, practices, customs and usages of NOPD Superintendent KIRK WOOD were the

underlying cause of PETITIONER’s injuries.

in all Capacities

Count Four: Violation of the Louisiana Constitution and State Laws against all Defendants

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PETITIONER incorporate and reasserts the allegations in the paragraphs above as though
fully set forth herein.

The actions of the NOPD OFFICERS as described herein, were done with negligence,
gross negligence and/or intentionally and were arbitrary, capricious and unreasonable, in
violation of Louisiana constitutional and statutory law.

The actions of the NOPD OFFICERS as described herein resulted in the assault, battery,
intentional infliction of emotional distress, negligent infliction of emotional distress, loss
of liberty, and violation of the rights to be secure against unreasonable stops, seizures, the
unjustifiable and excessive use of force, and the right to due process of law.

The actions of the NOPD OFFICERS caused or contributed to the physical and mental
injuries sustained by PETITIONER. By virtue of their professional roles and by
answering the call for service, the NOPD OFFICERS had a duty to exercise due care.
The actions and omissions of the NOPD OFFICERS herein were within the course and
scope of their employment and NOPD Superintendent KIRK WOOD is vicariously liable

for their acts and omissions in accordance with Louisiana law.'*

14 La. Civil Code Art. 2320.

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CAUSATION
The actions of the NOPD OFFICERS described herein, were the proximate cause of the
injuries and damages suffered by PETITIONER and as a result, has sustained injury and
suffered damages as set forth herein.
The DEFENDANTS are jointly and severally liable for the wrongs complained of herein,
either by virtue of direct participation or by virtue of encouraging, aiding, abetting,
conspiring, committing and/or ratifying or condoning the commission of the above-
described acts.
The actions of the DEFENDANTS described herein were negligent, grossly negligent,
intentional, arbitrary, capricious and unreasonable and/or deliberately indifferent.
The actions and omission of the DEFENDANTS as described herein, were intentional
malicious, reckless and performed with malice entitling PETITIONER to a substantial
award of punitive damages.
DAMAGES

As a direct and proximate result of the DEFENDANTS wrongful acts and omissions as
described herein, PETITIONER suffered severe injuries, for which he now seeks and is
entitled to recover damages from all the DEFENDANTS, jointly and severally, for these
injuries, to the fullest extent possible, under both federal and state law, as follows:

j. PETITIONER, Winston Boyd, suffered severe physical, mental and emotional

injuries, pain and suffering, anguish, loss of liberty, loss of enjoyment of life, as
well as fear and terror of death.

JURY TRIAL REQUESTED

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71. PETITIONER requests a jury in this case as to all portions of this matter to which a jury

trial is available.

PRAYER FOR RELIEF

WHEREFORE, PETITIONER, Winston Boyd, prays that after due proceedings are

had, that there be judgment in his favor and against all DEFENDANTS, jointly and severally, as

follows:

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Compensatory Damages;

Past, Present and Future Pain and Suffering;

Past, Present and Future Mental Anguish

Past, Present and Future Medical Expenses;

Loss of Enjoyment of Life;

Inconvenience;

Disfigurement;

Humiliation;

Punitive damages;

Reasonable attorney’s fees and all costs of these proceedings pursuant to 42
ULS.C. § 1988;

Judicial interest from the date of judicial demand;

Declaratory relief and judgment that the acts complained of herein were
unconstitutional;

That this matter be tried by a jury;

All other relief which this Honorable Court may deem just and proper.

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PETITIONER, Winston Boyd, further reserves his right to notice of defect to this
pleading and reserve the right to amend or supplement this Complaint after discovery of any
additional fact, law, or claim, the amendment of which to be performed by the filing of any

subsequent pleading.

Respectfully Submitted,

/s/ Glenn C. McGovern

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